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                     1       BANKRUPTCY RECOVERY GROUP, LLC
                             TALITHA GRAY KOZLOWSKI, ESQ.
                     2       Nevada Bar No. 9040
                             Email: tgray@brg.legal
                     3       GARRETT NYE, ESQ.
                             Illinois Bar No. 6329215
                     4       (Admitted Pro Hac Vice)
                             Email: gnye@brg.legal
                     5       7251 Amigo Street, Suite 210
                             Las Vegas, Nevada 89119
                     6       Tel: 702-483-6126
                             Attorneys for ACF FINCO I, LP
                     7
                                                       UNITED STATES BANKRUPTCY COURT
                     8                                    FOR THE DISTRICT OF NEVADA
                     9
                            IN RE:                                            Chapter 11
                   10
                            RED ROSE, INC., et al.,                           Jointly Administered in the United States
                   11                                                         Bankruptcy Court for the District of Nevada
                   12                Debtors.                                 Under

                   13                                                         CASE NO. BK-S-20-12814-mkn

                   14
                            ACF FINCO I, LP,                                  Adv. Pro. No. 21-01245-mkn
                   15

                   16                Plaintiff,
                            v.
                   17                                                         Previous Scheduling Conference:
                            ALPHA SUPPLY, LLC,                                Date: March 24, 2022
                   18                                                         Time: 10:00 a.m.
                                     Defendant.
                   19
                                                                              Continued Scheduling Conference:
                   20                                                         Date: October 6, 2022
                                                                              Time: 10:00 a.m.
                   21
                                                                CERTIFICATE OF SERVICE
                   22

                   23                1. On March 16, 2022, I served the following document(s):
                   24                             a.   Notice of Continued Scheduling Conference               Dkt. No. 7
                   25
                                     2. I served the above-named document(s) by the following means to the persons as listed
                   26
                            below:
                   27
                            ...
                   28
     BANKRUPTCY
RECOVERY GROUP, LLC
 7251 Amigo St., Ste. 210
  Las Vegas, NV 89119
                            Case 21-01245-mkn        Doc 10    Entered 03/17/22 15:03:26         Page 2 of 2


                     1                          b.      United States Mail, postage fully prepaid:

                     2                     Alpha Supply
                                           Attn: Sarah M. Love
                     3                     Bays Lung Rose & Voss
                                           Topa Financial Center
                     4                     700 Bishop Street, Ste. 900
                                           Honolulu, Hawaii 96813
                     5

                     6
                                 I declare under penalty of perjury that the foregoing is true and correct.
                     7

                     8           DATED this 17th day of March, 2021.

                     9

                   10
                                                                               /s/ Vicki DiMaio
                   11                                                          Vicki DiMaio, an employee of
                                                                               Bankruptcy Recovery Group, LLC
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     BANKRUPTCY                                                            2
RECOVERY GROUP, LLC
 7251 Amigo St., Ste. 210
  Las Vegas, NV 89119
